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 1
 2                               UNITED STATES DISTRICT COURT
                                CENTRAL DISTRICT OF CALIFORNIA
 3
                                      SOUTHERN DIVISION
 4
 5
        JOHN C. EASTMAN                                   Case No. 8:22-cv-00099-DOC-DFM
 6
 7                      Plaintiff,

 8      vs.
 9      BENNIE G. THOMPSON, et al.,
10
                        Defendants.
11
12
13
                                           MOTION FOR EXTENSION
14
15                    Plaintiff’s brief in support of privilege claims was due to the Court at 5pm PDT today.

16 Due to an unforeseen family situation that arose during final drafting and editing, undersigned counsel
17 was abruptly unavailable for a time. The brief should be complete later tonight.
18                    For the foregoing reasons, undersigned counsel respectfully requests a brief extension
19
     (matter of hours) to file the brief in support of privilege claims.
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 1 May 19, 2022                            Respectfully submitted,
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 3
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 4
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 1                                  CERTIFICATE OF SERVICE
 2
        I hereby certify that a copy of this filing has been served on opposing counsel by ecf.
 3
                                                             By: /s/ Charles Burnham
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